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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


YOMEE TOYS (SHUYANG) CO., LTD                        Civil Action No.:

             Plaintiff,

v.


SHENZHEN MEISHANG BAOKANG E-
COMMERCE CO., LTD, d/b/a Jalunth and
DOES 1-50, inclusive,


             Defendants.



                                          COMPLAINT

        Plaintiff Yomee Toys (Shuyang) Co., Ltd (“Plaintiff”) hereby files this Complaint against

Defendant Shenzhen Meishang Baokang E-Commerce Co., Ltd, d/b/a Jalunth, and Does 1-50,

inclusive, (collectively, “Defendants”) and alleges as follows:

                                        INTRODUCTION

        1.      Plaintiff files this action to seek monetary damages and injunctive relief based on

Defendants’ blatant and unlawful misappropriation of Plaintiff’s valuable intellectual property

rights in connection with the sales and/or offering for sale of low-quality knock-off toss and catch

game sets on Amazon.com. The requested relief is warranted and based upon Defendants’

violations of the federal Lanham Act for trade dress infringement and false designation of origin,

violations of the Illinois Uniform Deceptive Trade Practices Act, and violations of the federal

Copyright Act for copyright infringement.




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          2.    Plaintiff owns and operates the Amazon Storefront Account EVERICH TOY.

Plaintiff is the original creator of the EVERICH TOY toss and catch game set and the first to sell

this product and use it as a designation of source in the United States.

          3.    Plaintiff’s products have achieved massive success and widespread recognition

among the consuming public, which has unfortunately led to the illegal imitation and counterfeiting

activity by some of Plaintiff’s competitors, in particular those who are currently based in China and

are fly-by-night operations intent on evading U.S. laws.              Furthermore, to facilitate their

counterfeiting scheme, Defendants use Plaintiff’s copyrighted photographic images so that their

Amazon stores appear to be selling genuine Plaintiff products to unknowing consumers.

          4.    Defendants’ unlawful actions amount to a blatant, willful, and conscious disregard

for Plaintiffs intellectual property rights, and were knowingly and intentionally taken to piggyback

off of the enormous popularity, goodwill, and success of Plaintiff’s highly recognizable, unique,

and valuable design of the EVERICH TOY toss and catch game set. Such conduct has caused and

continues to cause confusion to the public and injury to Plaintiff.

          5.    Plaintiff hereby seeks to curtail the unlawful activity and illegal counterfeiting by

preventing Defendants from continued infringement, dilution and misappropriation of Plaintiff’s

valuable intellectual property rights. Defendant’s misconduct is harmful and will continue to cause

Plaintiff injury, including by lost sales, diminished reputation in the marketplace and the dilution

of its valuable intellectual property, unless and until this Court enjoins it. By this suit, Plaintiff is

seeking compensatory damages, enhanced damages, attorneys’ fees and costs, injunctive relief,

relief authorized under federal and Illinois law, and any relief that this Court may deem just and

proper.




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                                   JURISDICTION AND VENUE

        6.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., the Copyright Act, 17

U.S.C. § 101, et seq., 28 U.S.C. § 1338(a)-(b), and 28 U.S.C. § 1331. This Court has jurisdiction

over the claims in this action that arise under the laws of the State of Illinois pursuant to 28 § U.S.C.

1367(a) because the state law claims are so related to the federal claims that they form part of the

same case or controversy and derive from a common nucleus of operative facts.

        7.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

target business activities toward Illinois consumers through their operation of fully interactive,

commercial Internet store operating on Amazon.com, which offers for sale and/or sells products

that infringe Plaintiff’s trade dress to residents of Illinois. Specifically, Defendants are involved

in the production, listing for sale, sale, and/or shipping of products to Illinois residents that use

infringing copies of Plaintiff’s trade dress and copyright. Defendants have committed and

knowingly participated in the commission of tortious acts in Illinois, causing Plaintiff substantial

injury in the State of Illinois.

        8.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and within this Judicial District by operating online stores

located on Amazon Marketplace, and the acts and events giving rise to this lawsuit, of which each

Defendant stands accused, were undertaken in Illinois and within this Judicial District.

                                              PARTIES

        9.      Plaintiff Yomee Toys (Shuyang) Co., Ltd. (Yomee Toys) is a foreign company

organized and validly existing under the laws of People’s Republic of China with its principal




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place of business located at No.6, Changjiang Road, MiaoTou Industrial Park, Shuyang County,

Suqian City, Jiangsu Province, China.

       10.     Plaintiff is informed and believes, and on that basis alleges, that Defendants are

individuals and/or business entities who reside in the People’s Republic of China and conduct

business throughout the United States, including within Illinois and in this Judicial District, by

operating online stores located on Amazon Marketplace under multiple fictitious seller names.

       11.     Upon information and belief, Defendant Shenzhen Meishang Baokang E-

Commerce Co., Ltd, d/b/a Jalunth (“Baokang”), is a company based in the People’s Republic of

China. Upon further information and belief, Defendant Baokang is the owner and operator of an

Amazon.com storefront account which operates under the brand name “Jalunth”.

       12.     Plaintiff’s investigation regarding the true identities and possible corporate

structures for each of the Defendants is still ongoing, and Plaintiff will take appropriate steps to

amend this Complaint if additional identifying information is discovered at a later time.

Nevertheless, the design elements and similarities of the knock-off products, along with the blatant

infringement of Plaintiff’s valid copyrights demonstrate a logical relationship between the

Defendants and suggesting that their illegal operation arises out of the same transaction,

occurrence, or series of transactions or occurrences.

                                  FACTUAL ALLEGATIONS

The EVERICH TOY Toss and Catch Game Set

       13.     Plaintiff is engaged in the development, manufacture, and sale of outdoor game

products, including the celebrated EVERICH TOY Toss and Catch Game Set. Plaintiff has created

unique, distinctive, and non-functional designs to use with the EVERICH TOY Toss and Catch

Game Set. Specifically, the EVERICH TOY Toss and Catch Game Set includes the following




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striking features: the distinctive contrasting and non-monochrome coloring of the paddles and soft

balls, the unique cross-shaped stitching on the pads, and the upside-down pear-shaped transparent

bag with the name “EVERICH” positioned on the top middle of the bag.




       14.     The designs of the EVERICH TOY Toss and Catch Game Set are distinctive and

non-functional and identify to consumers that the origin of the products is EVERICH TOY.

Plaintiff has extensively and continuously promoted and used these designs in the United States

and in Illinois, including investing significant resources in advertising, marketing, distributing and

improving this product.

       15.     To date, Plaintiff has sold tens of thousands of units of its EVERICH TOY toss and

catch game sets throughout the United States, including sales to customers in the State of Illinois.

The design and features of the products have received widespread public attention and have

become well-known indicators of the origin and quality of Plaintiff’s products. As such, Plaintiff’s

designs have acquired substantial secondary meaning in the marketplace and have become famous.



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        16.    As a result of at least Plaintiff’s continuous and extensive use of the design, and the

highly valuable goodwill and substantial secondary meaning acquired as a result, Plaintiff owns

trade dress rights in the design and appearance of the EVERICH TOY Toss and Catch Game Set,

which consumers have come to uniquely associate with Plaintiff’s Amazon Storefront EVERICH

TOY.

        17.    Plaintiff also owns all right, title and interest in and to United States Copyright

Registration No. VA2-257-606 (“Plaintiff’s Copyright”), including the exclusive rights to use and

reproduce photographs protected by this Copyright and to distribute these photographs to the

public. The registration is valid, subsisting, unrevoked and uncancelled.            Moreover, this

registration is incontestable.   A genuine and authentic copy of the U.S. federal copyright

registration certificate for the above-listed Copyright is attached hereto as Exhibit 1.

Defendants’ Unlawful Conduct

        18.    The success of the EVERICH TOY Toss and Catch Game Set has resulted in

significant counterfeiting and efforts to create knock-off versions. Defendants conduct their illegal

operations through fully interactive commercial websites hosted on various e-commerce sites such

as Amazon.com. Defendants intentionally conceal their identities and the full scope of their

counterfeiting operations in an effort to deter Plaintiff from learning Defendants’ true identities

and the exact interworking of Defendants’ illegal counterfeiting operations.

        19.    Upon information and belief, Defendants are an interrelated group of counterfeiters

working in active concert to knowingly and willfully manufacture, import, distribute, offer for sale,

and sell counterfeit products.

        20.    Plaintiff has used its trade dress extensively and continuously before Defendants

began selling or offering to sell similar products in the United States. Plaintiff’s trade dress had




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become famous and acquired secondary meaning in the United states before Defendants

commenced their unlawful use of Plaintiff’s trade dress.

       21.     The similarity between Defendants’ products and Plaintiff’s Products is striking, as

Defendants’ products have precisely the same distinctive, unique and non-functional design

elements as Plaintiff’s products (the same distinctive contrasting and non-monochrome coloring

of the paddles and the soft balls, the same unique cross-shaped stitching on the pads, and the same

upside-down pear-shaped transparent bag with the brand name on the top middle of the bag.)

       22.     These overlaps are deliberate and intended to reinforce a perceived association

between Defendants and EVERICH TOY. Exemplary images of an authentic and original products

compared with knock-off, counterfeited versions of the products can be seen as follows:

       23.

     Illustration 1: Exemplary images of              Illustration 2: Exemplary Images of
        Plaintiff’s Legitimate Products1                     Defendants’ knock-offs2




       1
          EVERICH TOY Paddle Toss and Catch Ball Set. Everich Toy Amazon Online Store.
(https://www.amazon.com/dp/B0832KK7CS) (last visited July 24, 2021).
       2
          JALUNTH Ball Catch Set Games Toss Paddle. Jalunth Amazon Online Store.
(https://www.amazon.com/dp/B08BCJD3CQ) (last visited July 24, 2021).


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       24.     Defendants also facilitate sales by using nearly identical copies of Plaintiff’s

copyrighted listings photos on Defendant Internet Stores so that they appear to unknowing

consumers to be the source of or otherwise authorized to sell Plaintiff’s products. This, coupled

with the fact that Defendants’ products are almost indistinguishable from Plaintiff’s products, is

likely to cause confusion, or cause mistake, or to deceive concerning the source of the parties’

goods, and/or whether Plaintiff has sponsored, endorsed or licensed the Plaintiff’s products to the

Defendants (or vice versa), and/or whether there is any connection or affiliation between the two.

       25.     Further, even though Defendants’ products are intended to look and feel like

Plaintiff’s products, the quality of Defendants’ products are vastly inferior. Amazon reviewers of

Defendants’ products have complained about the lack of quality control with respect to Defendants’

products. For example, one reviewer commented that “[t]he ball cracked open within one day.

The pad also has a crack on the edge.” Another reviewer commented that “[b]oth hand paddles

broke within a few catches, we are not all star pitchers and not sure how a six year old could throw

hard enough to break it.” As another extreme example, one Amazon reviewer stated that “[the

product] [f]ell apart after about 10mins of use.”

       26.     Because Defendants’ products are knocked off versions that closely imitate the

distinctive designs of Plaintiff’s products, their actions create a possibility that Plaintiff’s trade

dress will no longer serve as a unique identifier of Plaintiff’s products to consumers and therefore

dilutes the brand. Even worse, the inferior quality of Defendants’ products could tarnish the

reputation that Plaintiff has worked very hard to develop, and on which Plaintiff has spent hundreds

of thousands of dollars in promotions and advertising. As a result, Plaintiff will suffer lost sales

and foregone business because of the improper and negative associations between Plaintiff’s brand

and the inferior knockoffs.




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        27.    Defendants’ blatant misappropriation of Plaintiff’s valuable intellectual property

rights is done without Plaintiff’s permission and without compensation to Plaintiff. At no time did

Defendants obtain a license or any other permission or authorization from Plaintiff that would

allow Defendants to make and sell products having the same look and feel as an authentic

EVERICH TOY Toss and Catch Game Set and/or using Plaintiff’s listing photos. Plaintiff is not

aware of any effort made by Defendants to license or otherwise lawfully use Plaintiff’s trade dress

and copyrighted images.

        28.    Defendants’ conduct is both unlawful and unfair. Their use of Plaintiff’s trade dress,

including through knockoffs, reproductions, copies, and/or colorable imitations thereof, and

protected images, have been intentional, willful, and malicious. Defendants’ bad faith is evidenced

at least by their almost exact copying of Plaintiff’s products and listing pictures, and their misuse

was done with full knowledge of Plaintiff’s intellectual property rights, and they chose to engage

in these unlawful conducts to deceive and mislead the public into believing that their products are

sponsored, licensed, authorized by, affiliated, connected, or otherwise associated with EVERICH

TOY.

        29.    Based on the foregoing, Defendants’ infringement has caused Plaintiff irreparable

harm and will continue to cause irreparable harm to its reputation, the good will of Plaintiff’s trade

dress, the ability of that trade dress to serve as a source indicator for the products associated with

that trade dress, and Plaintiff’s ability to control the use of the trade dress so that it may function

as a source identifier for Plaintiff’s brand and products.

        30.    Upon information and belief, Defendants own and hold no U.S.-based assets

besides the U.S.-based Amazon accounts; therefore, Defendants are highly likely transfer all of

the funds from their Amazon accounts to off-shore bank accounts outside of the jurisdiction of




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U.S. Courts and thereafter ignore the lawsuit and deny Plaintiff all means of redress without

judicial intervention.

                                     CAUSES OF ACTION

                                    COUNT I
                     TRADE DRESS INFRINGMENT (15 U.S.C. § 1125)

       31.     Plaintiff repeats the foregoing allegations and incorporates the paragraphs above by

reference herein.

       32.     Plaintiff’s trade dress is entitled to protection under the Lanham Act. Plaintiff’s

trade dress includes the unique, distinctive, and non-functional designs and appearances of the

EVERICH TOY Toss and Catch Game Set. Plaintiff has extensively and continuously promoted

and used such trade dress in the United States. Through that extensive and continuous use,

Plaintiff’s trade dress has become a well-known indicator of the origin and quality of Plaintiff’s

products, and it has acquired substantial secondary meaning in the marketplace. Moreover,

Plaintiff’s trade dress had acquired this secondary meaning before Defendants commenced their

unlawful use of Plaintiff’s trade dress in connection with the infringing products.

       33.     Defendants’ unauthorized use of Plaintiff’s trade dress and/or colorable imitations

thereof is likely to cause confusion, mistake, or deception as to the affiliation, connection, and/or

association of Defendants with Plaintiff and as to the origin, sponsorship, and/or approval of the

infringing products, at least by creating the false and misleading impression that the infringing

products are manufactured by, authorized by, or otherwise associated with Plaintiff, in violation

of §43(c) of the Lanham Act, 15 U.S.C. § 1125(a).

       34.     On information and belief, Defendants’ violation has been intentional, willful, and

malicious. Defendants’ bad faith is evidenced at least by the striking similarity between the




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infringing products and Plaintiff’s trade dress and Defendants’ continuing willful disregard for

Plaintiff’s rights.

        35.     Defendants’ use of Plaintiff’s trade dress and/or colorable imitations thereof has

caused and, unless enjoined, will continue to cause substantial and irreparable injury to Plaintiff

for which Plaintiff has no adequate remedy at law, including substantial and irreparable injury to

the goodwill and reputation for quality associated with Plaintiff’s trade dress and products.

        36.     Plaintiff is entitled to injunctive relief and to recover at least Defendants’ profits,

Plaintiff’s actual damages, enhanced damages, costs, and reasonable attorney fees under at least

15 U.S.C. § 1125(a), 1116, and 1117.

                                       COUNT II
                      FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

        37.     Plaintiff repeats the foregoing allegations and incorporates the paragraphs above by

reference herein.

        38.     Plaintiff’s trade dress is entitled to protection under the Lanham Act. Plaintiff’s

trade dress includes the unique, distinctive, and non-functional designs and appearances of the

EVERICH TOY Toss and Catch Game Set. Plaintiff has extensively and continuously promoted

and used such trade dress in the United States. Through that extensive and continuous use,

Plaintiff’s trade dress has become a well-known indicator of the origin and quality of Plaintiff’s

products, and it has acquired substantial secondary meaning in the marketplace. Moreover,

Plaintiff’s trade dress had acquired this secondary meaning before Defendants commenced their

unlawful use of Plaintiff’s trade dress in connection with the infringing products.

        39.     Defendants’ unauthorized use of Plaintiff’s trade dress, in connection with their

infringing products in direct competition with Plaintiff, violates §43(c) of the Lanham Act, 15

U.S.C. § 1125(a) and constitutes false designation of origin, at least because Defendants’ uses of



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Plaintiff’s trade dress are likely to cause consumer confusion as to the origin and/or

sponsorship/affiliation of Defendants’ infringing products, at least by creating the false and

misleading impression that their infringing products are manufactured by, authorized by, or

otherwise associated with Plaintiff.

        40.     On information and belief, Defendants’ violation has been intentional, willful, and

malicious. Defendants’ bad faith is evidenced at least by the striking similarity between the

infringing products and Plaintiff’s trade dress and Defendants’ continuing willful disregard for

Plaintiff’s rights.

        41.     Defendants’ use of Plaintiff’s trade dress and/or colorable imitations thereof has

caused and, unless enjoined, will continue to cause substantial and irreparable injury to Plaintiff

for which Plaintiff has no adequate remedy at law, including substantial and irreparable injury to

the goodwill and reputation for quality associated with Plaintiff’s trade dress and products.

        42.     Plaintiff is entitled to injunctive relief and to recover at least Defendants’ profits,

Plaintiff’s actual damages, enhanced damages, costs, and reasonable attorney fees under at least

15 U.S.C. § 1125(a), 1116, and 1117.

                                   COUNT III
           VIOLATIONS OF ILLINOIS DECEPTIVE TRADE PRACTICES ACT
                             (815 ILCS § 510 et seq.)

        43.     Plaintiff repeats the foregoing allegations and incorporates the paragraphs above by

reference herein.

        44.     Plaintiff’s trade dress is entitled to protection under the common law of Illinois.

Plaintiff has extensively and continuously promoted and used its trade dress for years in the United

States and the State of Illinois. As a result of this, Plaintiff’s trade dress has become a well-known

indicator of the origin and quality of Plaintiff’s products and acquired substantial secondary




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meaning in the marketplace. In addition, Plaintiff’s trade dress acquired this secondary meaning

before Defendants commenced their unlawful use of Plaintiff’s trade dress in connection with their

infringing products.

        45.     Defendants’ unauthorized use of Plaintiff’s trade dress violates the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510 et seq., at least by palming off/passing off their

products as those of Plaintiff, by simulating Plaintiff’s trade dress in an intentional and non-

mistaken manner that is likely to cause consumer confusion as to origin and/or

sponsorship/affiliation of Defendants’ products, and by creating the false and misleading

impression that their infringing products are manufactured by, authorized by, or otherwise

associated with Plaintiff.

        46.     On information and belief, Defendants’ violation has been intentional, willful, and

malicious. Defendants’ bad faith is evidenced at least by the striking similarity between the

infringing products and Plaintiff’s trade dress and Defendants’ continuing willful disregard for

Plaintiff’s rights.

        47.     Defendants’ unlawful activities has caused, and, unless enjoined, will continue to

cause, substantial and irreparable injury to Plaintiff for which Plaintiff has no adequate remedy at

law, including substantial and irreparable injury to the goodwill and reputation for quality

associated with Plaintiff’s trade dress and products.

        48.     Plaintiff is entitled to injunctive relief, and Plaintiff is entitled to recover at least

Defendants’ profits, Plaintiff’s actual damages, enhanced damages, costs, and reasonable attorney

fees under at least 815 ILCS § 510.

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                                         COUNT IV
                                COPYRIGHT INFRINGEMENT
                                   (17 U.S.C. § 101, et seq.)

       49.     Plaintiff repeats the foregoing allegations and incorporates the paragraphs above by

reference herein.

       50.     Plaintiff has complied with the registration requirements of 17 U.S.C. § 411(a) in

obtaining the Copyright.

       51.     Plaintiff is, and at all relevant times has been, the sole owner of the original

photographic images that are the subject of this action and protected by Plaintiff’s Copyright.

Among the rights granted to Plaintiff is the exclusive right to market and sublicense the right to

copy, reproduce and display the image.

       52.     Defendants have intentionally reproduced, displayed, distributed, and made other

infringing uses of the protected images, without authorization by Plaintiff.

       53.     As a result of their wrongful conduct, Defendants are liable to Plaintiff for

copyright infringement pursuant to 17 U.S.C. § 501.

       54.     Defendants’ conduct was willful within the meaning of the Copyright Act.

Specifically, Defendant knew they did not have authorization to reproduce, publicly display,

distribute copies of, or made other infringing uses of the protected image but nonetheless willfully

did so anyway.

       55.     As a direct, actual, and proximate result of Defendants’ willful infringement of

Plaintiff’s Copyright, Plaintiff suffered damages, including lost licensing fees and the ability to

control the commercialization of Plaintiff’s protected images.

       56.     Plaintiff has no adequate remedy at law, and if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its copyrights.




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       57.      Plaintiff is entitled to injunctive relief, and Plaintiff is entitled to recover damages,

which include its losses and any and all profits Defendants have made as a result of their wrongful

conduct. 17 U.S.C. § 504. Alternatively, Plaintiff is entitled to statutory damages under 17 U.S.C.

§ 504(c). In addition, because Defendants’ infringement was willful, the award of statutory

damages should be enhanced in accordance with 17 U.S.C. § 504(c)(2).

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that this Court enter an order and judgment in

favor of Plaintiff and against Defendants as follows:

       (1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

             confederates, and all others acting for, with, by, through, under, or in active concert

             with them be temporarily, preliminarily and permanently enjoined and restrained from:

                a. using Plaintiff’s trade dress or any reproductions, copies or colorable imitations
                   thereof in any manner in connection with the distribution, marketing,
                   advertising, offering for sale, or sale of any product that is not a genuine product
                   or is not authorized by Plaintiff to be sold in connection with Plaintiff’s trade
                   dress;

                b. passing off, inducing, or enabling others to sell or pass off any product as a
                   genuine product or any other product produced by Plaintiff, that is not
                   Plaintiff’s or not produced under the authorization, control, or supervision of
                   Plaintiff and approved by Plaintiff for sale using Plaintiff’s trade dress;

                c. committing any acts calculated to cause consumers to believe that Defendants’
                   products are those sold under the authorization, control or supervision of
                   Plaintiff, or are sponsored by, approved by, or otherwise connected with
                   Plaintiff;

                d. further infringing Plaintiff’s trade dress and damaging Plaintiff’s goodwill;

                e. otherwise competing unfairly with Plaintiff in any manner;

                f. manufacturing, shipping, delivering, holding for sale, transferring or otherwise
                   moving, storing, distributing, returning, or otherwise disposing of, in any
                   manner, products or inventory not manufactured by or for Plaintiff, nor




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             authorized by Plaintiff to be sold or offered for sale, and which use Plaintiff’s
             trade dress, or any reproductions, copies or colorable imitations thereof;

         g. using, linking to, transferring, selling, exercising control over, or otherwise
            owning the Amazon marketplace accounts being used to sell or is the means by
            which Defendants could continue to sell infringing products; and

         h. operating such online marketplace account or websites that are involved with
            the distribution, marketing, advertising, offering for sale, or sale of any product
            using Plaintiff’s trade dress, or any reproductions, copies or colorable imitation
            thereof that is not a genuine product or not authorized by Plaintiff to be sold in
            connection with Plaintiff’s trade dress;

  (2) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

     confederates, and all others acting for, with, by, through, under, or in active concert

     with them be temporarily, preliminarily and permanently enjoined and restrained from:

         a. displaying images protected by Plaintiff’s Copyrights in connection with the
            distribution, advertising, offer for sale and/or sale of any product that is not a
            genuine Plaintiffs’ Product or is not authorized by Plaintiffs to be sold in
            connection with the Plaintiff’s Copyrights; and

         b. shipping, delivering, holding for sale, distributing, returning, transferring or
            otherwise moving, storing or disposing of in any manner products or inventory
            not manufactured by or for Plaintiffs, nor authorized by Plaintiffs to be sold or
            offered for sale, and protected by Plaintiffs’ Copyrights or any reproductions,
            counterfeit copies, or colorable imitations thereof.

  (3) Entry of an Order against those in privity with Defendants and those with notice of the

     injunction, including Amazon, and that the same shall:

         a. disable and cease providing services for any accounts through which
            Defendants engage in the sale of infringing products, including any accounts
            associated with the Defendants;

         b. disable and cease displaying any advertisements used by or associated with
            Defendants in connection with the sale of the infringing products; and

         c. take all steps necessary to prevent links to the Defendant domain names and
            storefronts from displaying in search results, including but not limited to
            removal of any links or identifiers such as ASIN, etc.;




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       (4) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

            reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

            infringement of Plaintiff’s trade dress and copyright be increased by a sum not

            exceeding the statutory limit;

       (5) In the alternative, that Plaintiff be awarded statutory damages for willful copyright

            infringement pursuant to 17 U.S.C. § 504(c)(2) of $150,000 per infringed work;

       (6) That Plaintiff be awarded its reasonable attorneys’ fees and costs pursuant to 17 U.S.C.

            § 505;

       (7) Both pre-judgment and post-judgment interest; and

       (8) Award any and all other relief to Plaintiff that this Court may deem just and equitable.

                                     DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a jury trial on all issues triable as of right to a jury. Fed. R. Civ.

P. 38(b).



Dated: July 24, 2021                                    YK LAW LLP


                                                        /s/ Edward Chen
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                                                        ATTORNEYS FOR PLAINTIFF
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